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                           UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

    In re:
                                                       Chapter 11
    BESTWALL LLC, 1
                          Debtor.                      Case No. 17-31795 (LTB)
    _____________________________________

                          NOTICE OF APPEAL OF SANCTIONS ORDER

             PLEASE TAKE NOTICE that Daniel J. Bloom, Esq., as Executor of the Estate of Joseph

Rodriguez, William H. Corder as Trustee to the Estate of Mary Corder, Rebecca Cunningham as

Personal Representative for Nancy Bush, Mariano G. Flores as Personal Representative for Brenda

Flores, Sidney Jennings, Joseph Melanson as Executor of the Estate of Charles Melanson, Joseph

Puckett, Terrence K. Kimble as Personal Representative for Ernest Straight, and Tamara Joyce

White, Individually and as Special Administrator for the Estate of Michael Hay (collectively, the

“Appellants”), by and through the undersigned counsel, pursuant to 28 U.S.C. § 158(a), Federal

Rule of Bankruptcy Procedure 8001, et seq., and Rule 8001-1 of the Rules of Practice and

Procedure of the United States Bankruptcy Court for the Western District of North Carolina,

hereby appeal to the United States District Court for the Western District of North Carolina the

Order with Respect to April 6, 2021 Contempt Compliance Hearing [ECF No. 2553] (the

“Sanctions Order”). A copy of the Sanctions Order is attached hereto as Exhibit A.

             PLEASE TAKE FURTHER NOTICE that the names of all parties to the Sanctions Order

appealed from, and the names, addresses, and telephone numbers of their respective attorneys, are

as follows:


1
  The last four digits of the Debtor’s taxpayer identification number are 5815. The Debtor’s
address is 133 Peachtree Street, N.E., Atlanta, Georgia, 30303.
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Appellants:

Daniel J. Bloom, Esq., as Executor of the Estate of Joseph Rodriguez
William H. Corder as Trustee to the Estate of Mary Corder
Rebecca Cunningham as Personal Representative for Nancy Bush
Mariano G. Flores as Personal Representative for Brenda Flores
Sidney Jennings
Joseph Melanson as Executor of the Estate of Charles Melanson
Joseph Puckett
Terrence K. Kimble as Personal Representative for Ernest Straight
Tamara Joyce White, Individually and as Special Administrator for the Estate of Michael Hay

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Appellee:

Bestwall, LLC

Counsel for Appellee:

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     Respectfully submitted this the 3rd day of May 2022.

                                          WALDREP WALL BABCOCK
                                          & BAILEY PLLC

                                          /s/ Thomas W. Waldrep, Jr.
                                          Thomas W. Waldrep Jr. (NC State Bar No. 11135)
                                          James C. Lanik (NC State Bar No. 30454)
                                          Jennifer B. Lyday (NC State Bar No. 39871)
                                          Diana Santos Johnson (NC State Bar No. 40050)
                                          John R. Van Swearingen (NC State Bar No. 53646)
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                                          Counsel for the Appellants
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                              EXHIBIT A

                                Sanctions Order
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    FILED & JUDGMENT ENTERED
           Steven T. Salata


                April 25 2022


         Clerk, U.S. Bankruptcy Court
        Western District of North Carolina
                                                                                    _____________________________
                                                                                              Laura T. Beyer
                                                                                      United States Bankruptcy Judge




                               UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF NORTH CAROLINA
                                     CHARLOTTE DIVISION


In re                                                              Chapter 11

BESTWALL LLC,1                                                     Case No. 17-31795
                                     Debtor.


                                ORDER WITH RESPECT TO APRIL 6, 2022
                                 CONTEMPT COMPLIANCE HEARING

           This matter came before the Court on the Debtor’s Supplemental Motion to Enforce PIQ

Order With Respect to Non-Compliant Claimants (Dkt. 2212) (the “Supplemental Motion”), the

Court’s Order Granting Debtor’s Supplemental Motion to Enforce PIQ Order With Respect to

Non-Compliant Claimants (Dkt. 2401) (the “Contempt Order,” incorporated herein by

reference), and the Court’s bench ruling at the hearing on March 3, 2022 (also incorporated

herein by reference). After considering the arguments of counsel and the evidence presented at

the hearings before the Court on February 24, 2022 and April 6, 2022, the Court hereby FINDS,

ORDERS, ADJUDGES, AND DECREES that:

           1.        The Court has jurisdiction over the Motion and the further proceedings

contemplated by the Contempt Order pursuant to 28 U.S.C. §§ 157 and 1334. The Supplemental

1
 The last four digits of the Debtor’s taxpayer identification number are 5815. The Debtor’s address is 133 Peachtree
Street, N.E., Atlanta, Georgia 30303.
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Motion and such further proceedings are core proceedings pursuant to 28 U.S.C. § 157. Venue in

this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409. Adequate notice of the

Supplemental Motion, the Contempt Order, the March 3, 2022 bench ruling, and the February

24, 2022 and April 6, 2022 hearings was given and no other notice need be given.

       2.      In the Contempt Order, the Court concluded that certain claimants listed therein

were in contempt of the Order Pursuant to Bankruptcy Rule 2004 Directing Submission of

Personal Injury Questionnaires by Pending Mesothelioma Claimants and Governing the

Confidentiality of Responses (Dkt. 1670) (the “PIQ Order”) and the Order Granting in Part and

Denying in Part Debtor’s Motion to Enforce PIQ Order With Respect to Non-Compliant

Claimants (Dkt. 2154) (the “Enforcement Order”) because such claimants had failed to comply

with Questionnaire Parts 8, 8A, 10, and/or Tables A, B, and C. Contempt Order ¶¶ 6-11.

       3.      The Court set a compliance hearing for February 24, 2022 to determine whether

the claimants identified in the Contempt Order had purged their contempt and to consider

possible sanctions to be imposed with respect to any such claimants who had not done so. After

that hearing, pursuant to the Court’s bench ruling on March 3, 2022, the Court set a second

compliance hearing for April 6, 2022.

       4.      At the April 6, 2022 hearing, the Debtor presented and the Court admitted an

Excel spreadsheet (identified as Exhibit A and attached as Exhibit A hereto) listing the 493

claimants who have still failed to comply with Questionnaire Parts 8, 8A, 10, and/or Tables A, B,

and C (the “Non-Compliant Claimants”) and indicating the Questionnaire parts the Non-

Compliant Claimants have failed to answer. Counsel for the Non-Compliant Claimants did not

object to admission of Exhibit A as a summary of the claimants who remained non-compliant

with the PIQ Order and the Enforcement Order, and agreed it was an accurate summary of the




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Questionnaire parts they had failed to answer. The Debtor also presented and the Court admitted

an Excel spreadsheet (identified as Exhibit C) listing the claimants subject to the Contempt Order

who had purged their contempt since entry of the Contempt Order, and an Excel spreadsheet

(identified as Exhibit B) listing the claimants who had committed to comply with Questionnaire

Parts 8, 8A, 10, and/or Tables A, B, and C and had begun complying (with the Debtor reserving

the right to seek sanctions with respect to the latter group of claimants if they do not comply with

those Questionnaire parts).

       5.      Courts “may impose sanctions for civil contempt to coerce obedience to a court

order” that “sets forth in specific detail an unequivocal command which a party has violated.” In

re Gen. Motors Corp., 61 F.3d 256, 258 (4th Cir. 1995) (punctuation and citations omitted).

Courts “ha[ve] broad discretion to fashion an appropriate coercive remedy in a case of civil

contempt, based on the nature of the harm and the probable effect of alternative sanctions.”

United States v. Darwin Const. Co., 873 F.2d 750, 756 (4th Cir. 1989) (quotation omitted).

       6.      For the reasons stated on the record at the April 6, 2022 hearing (incorporated

herein by reference), the Court concludes it would be appropriate to sanction the Non-Compliant

Claimants who are listed on Exhibit A (and the Court does hereby sanction such claimants) in the

amount of one hundred dollars ($100) per day per claimant (the “Daily Fine”) until they purge

their contempt, with the Daily Fine beginning on the fourteenth day after the entry of this Order.

The Court will determine when, to whom, and at what intervals the Daily Fine should be paid.

       7.      The Debtor shall provide status updates with respect to this matter at future

omnibus hearing dates, beginning with the omnibus hearing on April 21, 2022.

       8.      In addition, at the April 6 hearing, five claimants subject to the Contempt Order

(listed in Exhibit B to this Order) orally moved for reconsideration of the Contempt Order as to




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them. The Debtor did not object to the oral motion. For the reasons stated on the record at the

April 6 hearing, the Court therefore GRANTS these five claimants’ oral motion to reconsider the

Contempt Order as to them. Accordingly, the finding of contempt with regard to the claimants

listed in Exhibit B is vacated.

       9.      This Court retains exclusive jurisdiction over this Order and any and all matters

arising from or relating to the implementation, interpretation, or enforcement of this Order.




This Order has been signed                                 United States Bankruptcy Court
electronically. The judge’s
signature and court’s seal
appear at the top of the Order.




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                   Pending Mesothelioma Claimants that are Non-Compliant with Parts 8, 8A, and 10 and Tables A, B, and C as of April 5, 2022

                                                                                                Claimant First       Part   Part   Table   Table Table Part
    #        PIQ ID                     Law Firm Name                    Claimant Last Name
                                                                                                Name                  8      8A      A       B     C    10
    1       13660932    BAILEY COWAN HECKAMAN, PLLC                      DUNN                   ALIDA                 X       X      X       X     X    X
    2       12683909    BAILEY COWAN HECKAMAN, PLLC                      GURR                   REED                   X     X      X          X    X       X
    3       10171064    BAILEY COWAN HECKAMAN, PLLC                      MEDINA                 RICHARD                X     X      X          X    X       X
    4       15687356    BAILEY COWAN HECKAMAN, PLLC                      MILLER                 SCOTT                  X     X      X          X    X       X
    5       19474091    BAILEY COWAN HECKAMAN, PLLC                      ORTIZ                  EPIFANIO               X     X      X          X    X       X
    6       12523415    BELLUCK & FOX, LLP                               FURBECK                WILLIAM                X     X      X          X    X       X
    7       11547266    BELLUCK & FOX, LLP                               GODFREY                ROBERT                 X     X      X          X    X       X
    8       14721028    DEAN OMAR BRANHAM SHIRLEY, LLP                   ANDERSON               JUDITH                 X     X      X          X    X       X
    9       14751943    DEAN OMAR BRANHAM SHIRLEY, LLP                   BARTOS                 JOE                    X     X      X          X    X       X
    10      14836803    DEAN OMAR BRANHAM SHIRLEY, LLP                   BLUE                   GILBERT                X     X      X          X    X       X
    11      15226614    DEAN OMAR BRANHAM SHIRLEY, LLP                   DANIEL                 JAMES                  X     X      X          X    X       X
    12      13816774    DEAN OMAR BRANHAM SHIRLEY, LLP                   GROSS                  PHYLLIS                X     X      X          X    X       X
    13      16054694    DEAN OMAR BRANHAM SHIRLEY, LLP                   KESLER                 CHARLES                X     X      X          X    X       X
    14      18718489    DEAN OMAR BRANHAM SHIRLEY, LLP                   KRAGENBRING            OWEN                   X     X      X          X    X       X
    15      18327316    DEAN OMAR BRANHAM SHIRLEY, LLP                   LUTE                   CHRISTOPHER            X     X      X          X    X       X
    16      17918622    DEAN OMAR BRANHAM SHIRLEY, LLP                   PENROD                 CHARLES                X     X      X          X    X       X
    17      10042673    DEAN OMAR BRANHAM SHIRLEY, LLP                   QUINTERO               ARMANDO                X     X      X          X    X       X
    18      10904675    DEAN OMAR BRANHAM SHIRLEY, LLP                   QUIRK                  THOMAS                 X     X      X          X    X       X
    19      11078584    DEAN OMAR BRANHAM SHIRLEY, LLP                   RICCARDELLI            ATEO                   X     X      X          X    X       X
    20      13124566    DEAN OMAR BRANHAM SHIRLEY, LLP                   ROSS                   CHARLES                X     X      X          X    X       X
    21      18592958    DEAN OMAR BRANHAM SHIRLEY, LLP*                  SIZEMORE*              JAMES*                 X     X      X          X    X       X
    22      18388798    DEAN OMAR BRANHAM SHIRLEY, LLP                   SPRAY                  WILLIAM                X     X      X          X    X       X
    23      14427611    DEAN OMAR BRANHAM SHIRLEY, LLP                   STARESNICK             JOHN                   X     X      X          X    X       X
    24      12535401    DEAN OMAR BRANHAM SHIRLEY, LLP                   STUTZMAN               ROBERT                 X     X      X          X    X       X
    25      19718688    DEAN OMAR BRANHAM SHIRLEY, LLP                   THOMPSON               TRACY                  X     X      X          X    X       X
    26      11265156    DEAN OMAR BRANHAM SHIRLEY, LLP                   UNICK                  PHILIP                 X     X      X          X    X       X
    27      10073320    DEAN OMAR BRANHAM SHIRLEY, LLP                   WAINSCOTT              IRA                    X     X      X          X    X       X
    28      12896331    DEAN OMAR BRANHAM SHIRLEY, LLP                   ZACCONE                CAROLYN                X     X      X          X    X       X
    29      18274206    KARST & VON OISTE, LLP                           BUSH                   NANCY                  X     ✔      ✔       ✔       ✔       X
    30      14752272    KARST & VON OISTE, LLP                           CORDER                 MARY                   X     ✔      ✔       ✔       ✔       X
    31      13963748    KARST & VON OISTE, LLP                           FLORES                 BRENDA                 X     ✔      ✔       ✔       ✔       X
    32      16180925    KARST & VON OISTE, LLP                           JENNINGS               SIDNEY                 X     ✔      ✔       ✔       ✔       X
    33      16409832    KARST & VON OISTE, LLP                           PUCKETT                JOSEPH                 X     ✔      ✔       ✔       ✔       X

X = noncompliant
✔ = compliant                                                               1 of 15                                          * previously duplicated on Exhibit A
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                   Pending Mesothelioma Claimants that are Non-Compliant with Parts 8, 8A, and 10 and Tables A, B, and C as of April 5, 2022

                                                                                                Claimant First       Part   Part   Table   Table Table Part
    #        PIQ ID                     Law Firm Name                    Claimant Last Name
                                                                                                Name                  8      8A      A       B     C    10
    34      16960043    KARST & VON OISTE, LLP                           RODRIGUEZ              JOE                   X      ✔       ✔       ✔     ✔    X
    35      17238609    KARST & VON OISTE, LLP                           STRAIGHT               ERNEST                 X     ✔      ✔       ✔       ✔       X
                        MAUNE RAICHLE HARTLEY FRENCH & MUDD,
    36      15856368                                                     HAY                    MICHAEL                X     X      X          X    X       X
                        LLC
    37      16541632    PROVOST UMPHREY LAW FIRM, L.L.P.                 BRISTER                GEORGE                 X     X      X          X    X       X
    38      17386273    PROVOST UMPHREY LAW FIRM, L.L.P.                 CHRISTOPHER            HAROLD                 X     X      X          X    X       X
    39      19270809    PROVOST UMPHREY LAW FIRM, L.L.P.                 CURRY                  JAMES                  X     X      X          X    X       X
    40      17262872    PROVOST UMPHREY LAW FIRM, L.L.P.                 DUNAGAN                MARION                 X     X      X          X    X       X
    41      13416630    PROVOST UMPHREY LAW FIRM, L.L.P.                 GILBERT                CHARLES                X     X      X          X    X       X
    42      14999977    PROVOST UMPHREY LAW FIRM, L.L.P.                 LOZICA                 FRANK                  X     X      X          X    X       X
    43      17298870    PROVOST UMPHREY LAW FIRM, L.L.P.                 MCMILLAN               CLYDA                  X     X      X          X    X       X
    44      11807505    PROVOST UMPHREY LAW FIRM, L.L.P.                 MILLER                 STEPHEN                X     X      X          X    X       X
    45      13126015    PROVOST UMPHREY LAW FIRM, L.L.P.                 NANCE                  MARVIN                 X     X      X          X    X       X
    46      13213482    PROVOST UMPHREY LAW FIRM, L.L.P.                 RAY                    WILLIAM                X     X      X          X    X       X
    47      16855472    PROVOST UMPHREY LAW FIRM, L.L.P.                 SCHAEDEL               HENRY                  X     X      X          X    X       X
    48      13435366    PROVOST UMPHREY LAW FIRM, L.L.P.                 SCHROEDER              WARREN                 X     X      X          X    X       X
    49      18615888    PROVOST UMPHREY LAW FIRM, L.L.P.                 SONNIER                JOHN                   X     X      X          X    X       X
    50      10545621    PROVOST UMPHREY LAW FIRM, L.L.P.                 STEPHENS               JAMES                  X     X      X          X    X       X
    51      12323976    PROVOST UMPHREY LAW FIRM, L.L.P.                 THOMAS                 LOLA                   X     X      X          X    X       X
    52      14038064    PROVOST UMPHREY LAW FIRM, L.L.P.                 YOUNG                  HELEN                  X     X      X          X    X       X
    53      15627852    ROBINS CLOUD LLP                                 FORSYTHE               WILLIAM                X     X      X          X    X      ✔
    54      14203612    ROBINS CLOUD LLP                                 GARZA                  RONALD                 X     X      X          X    X      ✔
    55      12261297    ROBINS CLOUD LLP                                 HEAD                   FRANK                  X     X      X          X    X      ✔
    56                  ROBINS CLOUD LLP                                 KINKEAD                JOHN                   X     X      X          X    X      ✔
    57      13206544    ROBINS CLOUD LLP                                 OTTAVIANO              ALAN                   X     X      X          X    X      ✔
    58      13941716    ROBINS CLOUD LLP                                 SHIFFLETT              ROGER                  X     X      X          X    X      ✔
    59      11237344    ROBINS CLOUD LLP                                 WOOD                   GEORGE                 X     X      X          X    X      ✔
    60      13272874    SHRADER & ASSOCIATES, LLP                        AHLSTRAND              HERMAN                 X     X      X          X    X       X
    61                  SHRADER & ASSOCIATES, LLP                        ALBRIGHT               MARK                   X     X      X          X    X       X
    62      17020721    SHRADER & ASSOCIATES, LLP                        ALIOTTA                PATRICIA               X     X      X          X    X       X
    63                  SHRADER & ASSOCIATES, LLP                        ALVARADO               SILVIA                 X     X      X          X    X       X
    64                  SHRADER & ASSOCIATES, LLP                        AMBACHER               ALBERT                 X     X      X          X    X       X
    65      10332854    SHRADER & ASSOCIATES, LLP                        AMOS                   ROBERT                 X     X      X          X    X       X


X = noncompliant
✔ = compliant                                                               2 of 15                                          * previously duplicated on Exhibit A
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                                                                                                Claimant First       Part   Part   Table   Table Table Part
    #        PIQ ID                     Law Firm Name                    Claimant Last Name
                                                                                                Name                  8      8A      A       B     C    10
    66                  SHRADER & ASSOCIATES, LLP                        ANDERSON               ARTHUR                X       X      X       X     X    X
    67                  SHRADER & ASSOCIATES, LLP                        ANDERSON               ROBERT                 X     X      X          X    X       X
    68                  SHRADER & ASSOCIATES, LLP                        ANTHONY                MICHAEL                X     X      X          X    X       X
    69                  SHRADER & ASSOCIATES, LLP                        ARAIZA                 ROSA                   X     X      X          X    X       X
    70                  SHRADER & ASSOCIATES, LLP                        ARMSTRONG              LARRY                  X     X      X          X    X       X
    71      19673273    SHRADER & ASSOCIATES, LLP                        ARTEAGA                LEOPOLDO               X     X      X          X    X       X
    72      13294579    SHRADER & ASSOCIATES, LLP                        ARTHAUD                CHERYL                 X     X      X          X    X       X
    73      19625071    SHRADER & ASSOCIATES, LLP                        ASH                    NORMAN                 X     X      X          X    X       X
    74      11129363    SHRADER & ASSOCIATES, LLP                        BABBITT                DAVID                  X     X      X          X    X       X
    75      12354446    SHRADER & ASSOCIATES, LLP                        BAJOS                  HENRY                  X     X      X          X    X       X
    76                  SHRADER & ASSOCIATES, LLP                        BAKER                  JERRY                  X     X      X          X    X       X
    77      14450402    SHRADER & ASSOCIATES, LLP                        BARHUM                 MOHAMMAD               X     X      X          X    X       X
                                                                         BARRANTES-
    78                  SHRADER & ASSOCIATES, LLP                                               RAFAEL                 X     X      X          X    X       X
                                                                         ALARCON
    79                  SHRADER & ASSOCIATES, LLP                        BARRY                  CLIFFORD               X     X      X          X    X       X
    80      16861048    SHRADER & ASSOCIATES, LLP                        BARTOS                 BERNARD                X     X      X          X    X       X
    81                  SHRADER & ASSOCIATES, LLP                        BATTEY                 GEORGE                 X     X      X          X    X       X
    82                  SHRADER & ASSOCIATES, LLP                        BELLAMY                WILLIAM                X     X      X          X    X       X
    83                  SHRADER & ASSOCIATES, LLP                        BENFIELD               JASON                  X     X      X          X    X       X
    84                  SHRADER & ASSOCIATES, LLP                        BENNET                 ROY                    X     X      X          X    X       X
    85                  SHRADER & ASSOCIATES, LLP                        BENTLEY                ARMO                   X     X      X          X    X       X
    86                  SHRADER & ASSOCIATES, LLP                        BIEGLER                RICHARD                X     X      X          X    X       X
    87      12445735    SHRADER & ASSOCIATES, LLP                        BILLIOT                CURTIS                 X     X      X          X    X       X
    88      18817503    SHRADER & ASSOCIATES, LLP                        BINGENHEIMER           DONALD                 X     X      X          X    X       X
    89      15263437    SHRADER & ASSOCIATES, LLP                        BLEAM                  KENDALL                X     X      X          X    X       X
    90      11343643    SHRADER & ASSOCIATES, LLP*                       BOLIN*                 STEVEN*                X     X      X          X    X       X
    91                  SHRADER & ASSOCIATES, LLP                        BONHAM                 MARK                   X     X      X          X    X       X
    92      12627965    SHRADER & ASSOCIATES, LLP                        BOWEN                  RAYMOND                X     X      X          X    X       X
    93                  SHRADER & ASSOCIATES, LLP                        BRINSTON               BETTY                  X     X      X          X    X       X
    94      16508221    SHRADER & ASSOCIATES, LLP                        BROADNAX               CHARLES                X     X      X          X    X       X
    95      12298144    SHRADER & ASSOCIATES, LLP                        BROWN                  DONALD                 X     X      X          X    X       X
    96                  SHRADER & ASSOCIATES, LLP                        BROWN                  BARRY                  X     X      X          X    X       X
    97      17570967    SHRADER & ASSOCIATES, LLP                        BROWN                  ROBERT                 X     X      X          X    X       X


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                                                                                                Claimant First       Part   Part   Table   Table Table Part
    #        PIQ ID                     Law Firm Name                    Claimant Last Name
                                                                                                Name                  8      8A      A       B     C    10
    98                  SHRADER & ASSOCIATES, LLP                        BROWSKI                LEONARD               X       X      X       X     X    X
    99      13682258    SHRADER & ASSOCIATES, LLP                        BUCY                   ROBERT                 X     X      X          X    X       X
   100      16432208    SHRADER & ASSOCIATES, LLP                        BURR                   FRANK                  X     X      X          X    X       X
   101                  SHRADER & ASSOCIATES, LLP                        BURTSOHE               VICTOR                 X     X      X          X    X       X
   102      17977717    SHRADER & ASSOCIATES, LLP                        BUTLER                 BOBBY                  X     X      X          X    X       X
   103      12053579    SHRADER & ASSOCIATES, LLP                        BUTLER                 RALPH                  X     X      X          X    X       X
   104                  SHRADER & ASSOCIATES, LLP                        CALAIS                 ROBERT                 X     X      X          X    X       X
   105      13161382    SHRADER & ASSOCIATES, LLP                        CALDWELL               JOHNNIE                X     X      X          X    X       X
   106                  SHRADER & ASSOCIATES, LLP                        CALLENDER              FRANK                  X     X      X          X    X       X
   107      15684506    SHRADER & ASSOCIATES, LLP                        CALOW                  GRAEME                 X     X      X          X    X       X
   108                  SHRADER & ASSOCIATES, LLP                        CAMP                   JERRY                  X     X      X          X    X       X
   109      11452114    SHRADER & ASSOCIATES, LLP                        CAMPBELL               JOHN                   X     X      X          X    X       X
   110      19944824    SHRADER & ASSOCIATES, LLP                        CANNONE                ANTHONY                X     X      X          X    X       X
   111      16775409    SHRADER & ASSOCIATES, LLP                        CANTRELL               J                      X     X      X          X    X       X
   112      15462649    SHRADER & ASSOCIATES, LLP                        CANTU                  JOSE                   X     X      X          X    X       X
   113                  SHRADER & ASSOCIATES, LLP                        CHACKO                 IDICHERIA              X     X      X          X    X       X
   114                  SHRADER & ASSOCIATES, LLP                        CHAMBERS               WILLIAM                X     X      X          X    X       X
   115                  SHRADER & ASSOCIATES, LLP                        CHURCH                 MICHAEL                X     X      X          X    X       X
   116                  SHRADER & ASSOCIATES, LLP                        CLARK                  BETTY                  X     X      X          X    X       X
   117      12041540    SHRADER & ASSOCIATES, LLP                        CLARK                  JOHN                   X     X      X          X    X       X
   118      13946806    SHRADER & ASSOCIATES, LLP                        CLESSON                DONALD                 X     X      X          X    X       X
   119      11814128    SHRADER & ASSOCIATES, LLP                        CLIFT                  ALMA                   X     X      X          X    X       X
   120      18472136    SHRADER & ASSOCIATES, LLP                        COCKRELL               HAROLD                 X     X      X          X    X       X
   121                  SHRADER & ASSOCIATES, LLP                        COLLINS                JAMES                  X     X      X          X    X       X
   122      13366437    SHRADER & ASSOCIATES, LLP                        COLWELL                BOBBY                  X     X      X          X    X       X
   123      12444087    SHRADER & ASSOCIATES, LLP                        CONNARD                WILLIAM                X     X      X          X    X       X
   124                  SHRADER & ASSOCIATES, LLP                        CONTRERAS              LORENZO                X     X      X          X    X       X
   125                  SHRADER & ASSOCIATES, LLP                        COTA                   SANTIAGO               X     X      X          X    X       X
   126      10563201    SHRADER & ASSOCIATES, LLP                        CRANE                  WILLIAM                X     X      X          X    X       X
   127      17855937    SHRADER & ASSOCIATES, LLP                        CRATER                 WILLIE                 X     X      X          X    X       X
   128      19409678    SHRADER & ASSOCIATES, LLP                        DAICHENDT              MICHAEL                X     X      X          X    X       X
   129      11575713    SHRADER & ASSOCIATES, LLP                        DALY                   DENNIS                 X     X      X          X    X       X
   130      10202562    SHRADER & ASSOCIATES, LLP                        DAVIE                  ERNESTINE              X     X      X          X    X       X

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    #        PIQ ID                     Law Firm Name                    Claimant Last Name
                                                                                                Name                  8      8A      A       B     C    10
   131      10160896    SHRADER & ASSOCIATES, LLP                        DAVIS                  JOHN                  X       X      X       X     X    X
   132                  SHRADER & ASSOCIATES, LLP                        DEBERRY                THOMAS                 X     X      X          X    X       X
   133      17008091    SHRADER & ASSOCIATES, LLP                        DECRISTOFARO           BARBARA                X     X      X          X    X       X
   134      11494743    SHRADER & ASSOCIATES, LLP                        DENISON                GEORGE                 X     X      X          X    X       X
   135      12830776    SHRADER & ASSOCIATES, LLP                        DENTON                 ROBERT                 X     X      X          X    X       X
   136      17268587    SHRADER & ASSOCIATES, LLP                        DEVEREAUX              CAROLYN                X     X      X          X    X       X
   137      15291154    SHRADER & ASSOCIATES, LLP                        DIAZ                   JOSEPH                 X     X      X          X    X       X
   138                  SHRADER & ASSOCIATES, LLP                        DILLEY                 RANDY                  X     X      X          X    X       X
   139                  SHRADER & ASSOCIATES, LLP                        DILLOW                 MICHAEL                X     X      X          X    X       X
   140      11612348    SHRADER & ASSOCIATES, LLP                        DOUGLAS                SAUNDRA                X     X      X          X    X       X
   141      11267423    SHRADER & ASSOCIATES, LLP                        DUNBAR                 CARRIE                 X     X      X          X    X       X
   142                  SHRADER & ASSOCIATES, LLP                        DUPONT                 JERRY                  X     X      X          X    X       X
   143      14770282    SHRADER & ASSOCIATES, LLP                        DURON                  JOSE                   X     X      X          X    X       X
   144      18236873    SHRADER & ASSOCIATES, LLP                        DZIEWIATKOWSKI         GERALDINE              X     X      X          X    X       X
   145      13663624    SHRADER & ASSOCIATES, LLP                        EDWARDS                ROBERT                 X     X      X          X    X       X
   146      11299144    SHRADER & ASSOCIATES, LLP                        EGOLF                  EDWARD                 X     X      X          X    X       X
   147                  SHRADER & ASSOCIATES, LLP                        ELIZONDO               SAMUEL                 X     X      X          X    X       X
   148      11658665    SHRADER & ASSOCIATES, LLP                        ELKINS                 JERRY                  X     X      X          X    X       X
   149                  SHRADER & ASSOCIATES, LLP                        ETTER                  LEONARD                X     X      X          X    X       X
   150      18882316    SHRADER & ASSOCIATES, LLP                        EVANS                  CECIL                  X     X      X          X    X       X
   151      19339849    SHRADER & ASSOCIATES, LLP                        FABRY                  ALAN                   X     X      X          X    X       X
   152                  SHRADER & ASSOCIATES, LLP                        FISHER                 THOMAS                 X     X      X          X    X       X
   153      15833176    SHRADER & ASSOCIATES, LLP                        FLETCHER               GLEN                   X     X      X          X    X       X
   154      11795411    SHRADER & ASSOCIATES, LLP                        FOLLAS                 SUSAN                  X     X      X          X    X       X
   155      15759437    SHRADER & ASSOCIATES, LLP                        FORD                   THOMAS                 X     X      X          X    X       X
   156                  SHRADER & ASSOCIATES, LLP                        FORSE                  CARROLL                X     X      X          X    X       X
   157      10674105    SHRADER & ASSOCIATES, LLP                        FRAIRE                 MANUEL                 X     X      X          X    X       X
   158                  SHRADER & ASSOCIATES, LLP                        FRANCIS                DARWIN                 X     X      X          X    X       X
   159      10603233    SHRADER & ASSOCIATES, LLP                        FRANK                  MARGARET               X     X      X          X    X       X
   160      14583209    SHRADER & ASSOCIATES, LLP                        FULWIDER               RALPH                  X     X      X          X    X       X
   161                  SHRADER & ASSOCIATES, LLP                        GAGNON                 BERTRAND               X     X      X          X    X       X
   162                  SHRADER & ASSOCIATES, LLP                        GALLEGO                ARTURO                 X     X      X          X    X       X
   163      14096688    SHRADER & ASSOCIATES, LLP                        GALLUPS                DAVID                  X     X      X          X    X       X

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                                                                                                Claimant First       Part   Part   Table   Table Table Part
    #        PIQ ID                     Law Firm Name                    Claimant Last Name
                                                                                                Name                  8      8A      A       B     C    10
   164      15397287    SHRADER & ASSOCIATES, LLP                        GARCIA                 ARVELIO               X       X      X       X     X    X
   165                  SHRADER & ASSOCIATES, LLP                        GAYTON                 HERNANDO               X     X      X          X    X       X
   166      16212134    SHRADER & ASSOCIATES, LLP                        GEORGE                 GLENN                  X     X      X          X    X       X
   167                  SHRADER & ASSOCIATES, LLP                        GERDICH                MARK                   X     X      X          X    X       X
   168                  SHRADER & ASSOCIATES, LLP                        GHOLSON                JOHN                   X     X      X          X    X       X
   169                  SHRADER & ASSOCIATES, LLP                        GIFFORD                JAMES                  X     X      X          X    X       X
   170      17796718    SHRADER & ASSOCIATES, LLP                        GILGINAS               RAYMOND                X     X      X          X    X       X
   171      14553612    SHRADER & ASSOCIATES, LLP                        GLOVER                 CLARENCE               X     X      X          X    X       X
   172      19652062    SHRADER & ASSOCIATES, LLP                        GRAVELY                KENNETH                X     X      X          X    X       X
   173      18507092    SHRADER & ASSOCIATES, LLP                        GRAVES                 PAULA                  X     X      X          X    X       X
   174      19099571    SHRADER & ASSOCIATES, LLP                        GRIFFES                CECIL                  X     X      X          X    X       X
   175                  SHRADER & ASSOCIATES, LLP                        HAAS                   JAMES                  X     X      X          X    X       X
   176      12188170    SHRADER & ASSOCIATES, LLP                        HAHN                   CHARLES                X     X      X          X    X       X
   177      17785915    SHRADER & ASSOCIATES, LLP                        HAINES                 BRYEN                  X     X      X          X    X       X
   178      14276530    SHRADER & ASSOCIATES, LLP                        HALL                   BONNIE                 X     X      X          X    X       X
   179      14120112    SHRADER & ASSOCIATES, LLP                        HAMM                   MAURICE                X     X      X          X    X       X
   180                  SHRADER & ASSOCIATES, LLP                        HAMMETT                KEITH                  X     X      X          X    X       X
   181                  SHRADER & ASSOCIATES, LLP                        HARDER                 ROGER                  X     X      X          X    X       X
   182                  SHRADER & ASSOCIATES, LLP                        HARDY                  DAVID                  X     X      X          X    X       X
   183                  SHRADER & ASSOCIATES, LLP                        HARDY                  TIM                    X     X      X          X    X       X
   184      16000753    SHRADER & ASSOCIATES, LLP                        HERNDON                MARK                   X     X      X          X    X       X
   185                  SHRADER & ASSOCIATES, LLP                        HERRON                 MARY                   X     X      X          X    X       X
   186      13525696    SHRADER & ASSOCIATES, LLP                        HIGHSMITH              LOLA                   X     X      X          X    X       X
   187                  SHRADER & ASSOCIATES, LLP                        HIGHTSHOE              KEITH                  X     X      X          X    X       X
   188                  SHRADER & ASSOCIATES, LLP                        HILDEBRAND             BERND                  X     X      X          X    X       X
   189                  SHRADER & ASSOCIATES, LLP                        HODGES                 KENNETH                X     X      X          X    X       X
   190                  SHRADER & ASSOCIATES, LLP                        HODGSON                JAMES                  X     X      X          X    X       X
   191      16219606    SHRADER & ASSOCIATES, LLP                        HOLTZMAN               THOMAS                 X     X      X          X    X       X
   192                  SHRADER & ASSOCIATES, LLP                        HONE                   LAWRENCE               X     X      X          X    X       X
   193      18749574    SHRADER & ASSOCIATES, LLP                        HORWATH                WILLIAM                X     X      X          X    X       X
   194                  SHRADER & ASSOCIATES, LLP                        HUBERT                 ROBERT                 X     X      X          X    X       X
   195      13710874    SHRADER & ASSOCIATES, LLP                        HUNTER                 BOBBY                  X     X      X          X    X       X
   196      16352752    SHRADER & ASSOCIATES, LLP                        HURST                  DORIS                  X     X      X          X    X       X

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                                                                                                Claimant First       Part   Part   Table   Table Table Part
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                                                                                                Name                  8      8A      A       B     C    10
   197      17159203    SHRADER & ASSOCIATES, LLP                        HUTCHINSON             TAMMY                 X       X      X       X     X    X
   198      10831564    SHRADER & ASSOCIATES, LLP                        IAHN                   DAVID                  X     X      X          X    X       X
   199                  SHRADER & ASSOCIATES, LLP                        JACOBY                 ROBERT                 X     X      X          X    X       X
   200                  SHRADER & ASSOCIATES, LLP                        JEFFERSON              HAROLD                 X     X      X          X    X       X
   201      11772439    SHRADER & ASSOCIATES, LLP                        JENNINGS               LENIA                  X     X      X          X    X       X
   202                  SHRADER & ASSOCIATES, LLP                        JOHNSON                BRUCE                  X     X      X          X    X       X
   203      10042145    SHRADER & ASSOCIATES, LLP                        JOHNSON                ROBERT                 X     X      X          X    X       X
   204      13863308    SHRADER & ASSOCIATES, LLP                        JONESBRINEY            ROSEMARY               X     X      X          X    X       X
   205                  SHRADER & ASSOCIATES, LLP                        JORDAN                 BENJAMIN               X     X      X          X    X       X
   206                  SHRADER & ASSOCIATES, LLP                        JUAREZ                 REBEKAH                X     X      X          X    X       X
   207                  SHRADER & ASSOCIATES, LLP                        KACZMAREK              RALPH                  X     X      X          X    X       X
   208                  SHRADER & ASSOCIATES, LLP                        KAUFMAN                JERRY                  X     X      X          X    X       X
   209      17456920    SHRADER & ASSOCIATES, LLP                        KEHLER                 WILLIAM                X     X      X          X    X       X
   210                  SHRADER & ASSOCIATES, LLP                        KELLY                  ROGER                  X     X      X          X    X       X
   211      10277459    SHRADER & ASSOCIATES, LLP                        KESLER                 ALICE                  X     X      X          X    X       X
   212      18021739    SHRADER & ASSOCIATES, LLP                        KILLIKEVC              JERRY                  X     X      X          X    X       X
   213      13927246    SHRADER & ASSOCIATES, LLP                        KING                   VICTORIA               X     X      X          X    X       X
   214      17597461    SHRADER & ASSOCIATES, LLP                        KING                   W                      X     X      X          X    X       X
   215      18761998    SHRADER & ASSOCIATES, LLP                        KINKADE                DWAINE                 X     X      X          X    X       X
   216                  SHRADER & ASSOCIATES, LLP                        KIRKLAND               SHIRLEY                X     X      X          X    X       X
   217      18653755    SHRADER & ASSOCIATES, LLP                        KLEINHANS              RICHARD                X     X      X          X    X       X
   218      15548944    SHRADER & ASSOCIATES, LLP                        KNAB                   HERMAN                 X     X      X          X    X       X
   219      16989002    SHRADER & ASSOCIATES, LLP                        KONARSKE               DANIEL                 X     X      X          X    X       X
   220      15475282    SHRADER & ASSOCIATES, LLP                        KOTTA                  LOUIS                  X     X      X          X    X       X
   221                  SHRADER & ASSOCIATES, LLP                        KOVACICH               LENNY                  X     X      X          X    X       X
   222      13901065    SHRADER & ASSOCIATES, LLP                        KOVACS                 JOSEPH                 X     X      X          X    X       X
   223      11790775    SHRADER & ASSOCIATES, LLP                        KRAFT                  DEAN                   X     X      X          X    X       X
   224      16960474    SHRADER & ASSOCIATES, LLP                        KRAMER                 KENNETH                X     X      X          X    X       X
   225      15928837    SHRADER & ASSOCIATES, LLP                        KRONK                  NOAL                   X     X      X          X    X       X
   226      12058754    SHRADER & ASSOCIATES, LLP                        LABOUVE                ROBERT                 X     X      X          X    X       X
   227      18976461    SHRADER & ASSOCIATES, LLP                        LATRONICA              VINCENT                X     X      X          X    X       X
   228                  SHRADER & ASSOCIATES, LLP                        LAURENT                JEFFREY                X     X      X          X    X       X
   229      10586011    SHRADER & ASSOCIATES, LLP                        LENARD                 IRA                    X     X      X          X    X       X

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                                                                                                Name                  8      8A      A       B     C    10
   230      14376042    SHRADER & ASSOCIATES, LLP                        LEVIS                  OBVIDIO               X       X      X       X     X    X
   231      12053954    SHRADER & ASSOCIATES, LLP                        LINGENFELTER           BILLY                  X     X      X          X    X       X
   232      14203650    SHRADER & ASSOCIATES, LLP                        LIPINSKY               STANLEY                X     X      X          X    X       X
   233                  SHRADER & ASSOCIATES, LLP                        LITTLE                 GEORGE                 X     X      X          X    X       X
   234      14233939    SHRADER & ASSOCIATES, LLP                        LITTLE                 JOHN                   X     X      X          X    X       X
   235                  SHRADER & ASSOCIATES, LLP                        LOBERA                 KIMBERLY               X     X      X          X    X       X
   236      12425000    SHRADER & ASSOCIATES, LLP                        LORD                   EDWARD                 X     X      X          X    X       X
   237                  SHRADER & ASSOCIATES, LLP                        LUCERO                 LEONARDO               X     X      X          X    X       X
   238      11318714    SHRADER & ASSOCIATES, LLP                        MANNING                JOHN                   X     X      X          X    X       X
   239                  SHRADER & ASSOCIATES, LLP                        MARQUARDT              JERRY                  X     X      X          X    X       X
   240      12910715    SHRADER & ASSOCIATES, LLP                        MARTIN                 RICHARD                X     X      X          X    X       X
   241      11414443    SHRADER & ASSOCIATES, LLP                        MASON                  PAUL                   X     X      X          X    X       X
   242      19006718    SHRADER & ASSOCIATES, LLP                        MATTHEWS               JOANNE                 X     X      X          X    X       X
   243                  SHRADER & ASSOCIATES, LLP                        MAXWELL                LARRY                  X     X      X          X    X       X
   244      11439562    SHRADER & ASSOCIATES, LLP                        MCKINNEY               UMPHREY                X     X      X          X    X       X
   245      11810766    SHRADER & ASSOCIATES, LLP                        MCLACHLIN              RUTH                   X     X      X          X    X       X
   246      14911182    SHRADER & ASSOCIATES, LLP                        MCNEILL                MARY                   X     X      X          X    X       X
   247                  SHRADER & ASSOCIATES, LLP                        MCSORLEY               WILLIAM                X     X      X          X    X       X
   248                  SHRADER & ASSOCIATES, LLP                        METZGER                ANTHONY                X     X      X          X    X       X
   249      13641029    SHRADER & ASSOCIATES, LLP                        MILLS                  GLENN                  X     X      X          X    X       X
   250                  SHRADER & ASSOCIATES, LLP                        MITCHELL               OMER                   X     X      X          X    X       X
   251                  SHRADER & ASSOCIATES, LLP                        MOLITORIS              JOHN                   X     X      X          X    X       X
   252                  SHRADER & ASSOCIATES, LLP                        MONSEF                 MIRZA                  X     X      X          X    X       X
   253      11620021    SHRADER & ASSOCIATES, LLP                        MOORE                  JAMES                  X     X      X          X    X       X
   254      17610177    SHRADER & ASSOCIATES, LLP                        MOORMAN                LAWRENCE               X     X      X          X    X       X
   255      17506211    SHRADER & ASSOCIATES, LLP                        MORELLI                MICHELLE               X     X      X          X    X       X
   256      10463253    SHRADER & ASSOCIATES, LLP                        MORGENROTH             DONALD                 X     X      X          X    X       X
   257      15881415    SHRADER & ASSOCIATES, LLP                        MORRISON               JAMES                  X     X      X          X    X       X
   258      15305981    SHRADER & ASSOCIATES, LLP                        MOSES                  RUSSELL                X     X      X          X    X       X
   259      18485562    SHRADER & ASSOCIATES, LLP                        MOTISSE                SUSAN                  X     X      X          X    X       X
   260                  SHRADER & ASSOCIATES, LLP                        NABOURS                RALEIGH                X     X      X          X    X       X
   261                  SHRADER & ASSOCIATES, LLP                        NADEAU                 TIMOTHY                X     X      X          X    X       X
   262      10035141    SHRADER & ASSOCIATES, LLP                        NADING                 CHARLES                X     X      X          X    X       X

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                                                                                                Claimant First       Part   Part   Table   Table Table Part
    #        PIQ ID                     Law Firm Name                    Claimant Last Name
                                                                                                Name                  8      8A      A       B     C    10
   263      15660982    SHRADER & ASSOCIATES, LLP                        NAVAT                  ELENO                 X       X      X       X     X    X
   264                  SHRADER & ASSOCIATES, LLP                        NEEL                   EDWARD                 X     X      X          X    X       X
   265                  SHRADER & ASSOCIATES, LLP                        NESSER                 KENNETH                X     X      X          X    X       X
   266      16547068    SHRADER & ASSOCIATES, LLP                        NICHOLSON              JAY                    X     X      X          X    X       X
   267                  SHRADER & ASSOCIATES, LLP                        NORMAN                 JAMES                  X     X      X          X    X       X
   268                  SHRADER & ASSOCIATES, LLP                        NORSWORTHY             YOUNG                  X     X      X          X    X       X
   269      12519304    SHRADER & ASSOCIATES, LLP                        ORFF                   JOHN                   X     X      X          X    X       X
   270                  SHRADER & ASSOCIATES, LLP                        ORTIZ                  FLORENCIO              X     X      X          X    X       X
   271      11428428    SHRADER & ASSOCIATES, LLP                        OVERMAN                ROBERT                 X     X      X          X    X       X
   272      16459790    SHRADER & ASSOCIATES, LLP                        PAIGE                  MARVIN                 X     X      X          X    X       X
   273      15282987    SHRADER & ASSOCIATES, LLP                        PAJACZKOWSKI           WALTER                 X     X      X          X    X       X
   274      10090012    SHRADER & ASSOCIATES, LLP                        PAJAK                  VICTOR                 X     X      X          X    X       X
   275                  SHRADER & ASSOCIATES, LLP                        PAPPACODA              ANTHONY                X     X      X          X    X       X
   276      15926531    SHRADER & ASSOCIATES, LLP                        PARKER                 WILLIAM                X     X      X          X    X       X
   277                  SHRADER & ASSOCIATES, LLP                        PASQUETTI              GERALD                 X     X      X          X    X       X
   278                  SHRADER & ASSOCIATES, LLP                        PATTERSON              ALBERT                 X     X      X          X    X       X
   279      18643535    SHRADER & ASSOCIATES, LLP                        PAVLIK                 JOHN                   X     X      X          X    X       X
   280      17122505    SHRADER & ASSOCIATES, LLP                        PEARCE                 HAROLD                 X     X      X          X    X       X
   281      17886639    SHRADER & ASSOCIATES, LLP                        PECK                   MICHAEL                X     X      X          X    X       X
   282                  SHRADER & ASSOCIATES, LLP                        PERDUE                 WILLIAM                X     X      X          X    X       X
   283                  SHRADER & ASSOCIATES, LLP                        PEREZ                  HILDELISA              X     X      X          X    X       X
   284                  SHRADER & ASSOCIATES, LLP                        PEREZ                  JESUS                  X     X      X          X    X       X
   285      11844457    SHRADER & ASSOCIATES, LLP                        PERRAULT               EARL                   X     X      X          X    X       X
   286      15406886    SHRADER & ASSOCIATES, LLP                        PETERMAN               EDWARD                 X     X      X          X    X       X
   287                  SHRADER & ASSOCIATES, LLP                        PETTIE                 JAMES                  X     X      X          X    X       X
   288      19319476    SHRADER & ASSOCIATES, LLP                        PFEISTER               STEPHEN                X     X      X          X    X       X
   289      12547135    SHRADER & ASSOCIATES, LLP                        PIERCE                 MAX                    X     X      X          X    X       X
   290      11393422    SHRADER & ASSOCIATES, LLP                        PIPER                  JOHN                   X     X      X          X    X       X
   291      18011449    SHRADER & ASSOCIATES, LLP                        PIPPIN                 FREDERICK              X     X      X          X    X       X
   292                  SHRADER & ASSOCIATES, LLP                        POLK                   GERALD                 X     X      X          X    X       X
   293      10948958    SHRADER & ASSOCIATES, LLP                        PONTIUS                JOHN                   X     X      X          X    X       X
   294                  SHRADER & ASSOCIATES, LLP                        POTTS                  LETTIE                 X     X      X          X    X       X
   295      18566813    SHRADER & ASSOCIATES, LLP                        RALEIGH                GERALD                 X     X      X          X    X       X

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    #        PIQ ID                     Law Firm Name                    Claimant Last Name
                                                                                                Name                  8      8A      A       B     C    10
   296      13191868    SHRADER & ASSOCIATES, LLP                        RANDALL                ROBERT                X       X      X       X     X    X
   297      11020854    SHRADER & ASSOCIATES, LLP                        RANKIN                 ROBERT                 X     X      X          X    X       X
   298                  SHRADER & ASSOCIATES, LLP                        RAY                    ROBERT                 X     X      X          X    X       X
   299                  SHRADER & ASSOCIATES, LLP                        REED                   JUNIOR                 X     X      X          X    X       X
   300                  SHRADER & ASSOCIATES, LLP                        REED                   LEWIS                  X     X      X          X    X       X
   301      11554466    SHRADER & ASSOCIATES, LLP                        REESE                  RONALD                 X     X      X          X    X       X
   302      13089346    SHRADER & ASSOCIATES, LLP                        RENNER                 DONNA                  X     X      X          X    X       X
   303      19324645    SHRADER & ASSOCIATES, LLP                        RHOADES                KATHY                  X     X      X          X    X       X
   304                  SHRADER & ASSOCIATES, LLP                        RINGLE                 DONALD                 X     X      X          X    X       X
   305      13253814    SHRADER & ASSOCIATES, LLP                        ROBBINS                CHARLES                X     X      X          X    X       X
   306                  SHRADER & ASSOCIATES, LLP                        ROBERTSON              THOMAS                 X     X      X          X    X       X
   307      17009983    SHRADER & ASSOCIATES, LLP                        ROBINSON               WILLIAM                X     X      X          X    X       X
   308      12334645    SHRADER & ASSOCIATES, LLP                        ROCHELLE               WILLIAM                X     X      X          X    X       X
   309      16807357    SHRADER & ASSOCIATES, LLP                        RODRIGUEZ              JESUS                  X     X      X          X    X       X
   310      14037885    SHRADER & ASSOCIATES, LLP                        ROMANO                 GIAN                   X     X      X          X    X       X
   311                  SHRADER & ASSOCIATES, LLP                        ROW                    DUDLEY                 X     X      X          X    X       X
   312      16698220    SHRADER & ASSOCIATES, LLP                        ROWE                   JUDY                   X     X      X          X    X       X
   313      19335416    SHRADER & ASSOCIATES, LLP                        RUTHERFORD             JAMES                  X     X      X          X    X       X
   314                  SHRADER & ASSOCIATES, LLP                        RYAN                   THERESA                X     X      X          X    X       X
   315                  SHRADER & ASSOCIATES, LLP                        SALAZAR                CHARLES                X     X      X          X    X       X
   316      11570212    SHRADER & ASSOCIATES, LLP                        SAMSON                 JOHN                   X     X      X          X    X       X
   317      16238523    SHRADER & ASSOCIATES, LLP                        SAMUEL                 HENRY                  X     X      X          X    X       X
   318      12931954    SHRADER & ASSOCIATES, LLP                        SARGOUS                DEAN                   X     X      X          X    X       X
   319      10191587    SHRADER & ASSOCIATES, LLP                        SAWICKI                HENRY                  X     X      X          X    X       X
   320                  SHRADER & ASSOCIATES, LLP                        SCHEXNAYDER            FERRELL                X     X      X          X    X       X
   321      12349910    SHRADER & ASSOCIATES, LLP                        SCHLOSSER              GEORGE                 X     X      X          X    X       X
   322      12028246    SHRADER & ASSOCIATES, LLP                        SCHOENFELDT            RONALD                 X     X      X          X    X       X
   323                  SHRADER & ASSOCIATES, LLP                        SCHUKAR                DOUG                   X     X      X          X    X       X
   324                  SHRADER & ASSOCIATES, LLP                        SCHULTZ                HARLAN                 X     X      X          X    X       X
   325      11611774    SHRADER & ASSOCIATES, LLP                        SCIRA                  RUSSELL                X     X      X          X    X       X
   326                  SHRADER & ASSOCIATES, LLP                        SCOTT                  CLAUDE                 X     X      X          X    X       X
   327      15367474    SHRADER & ASSOCIATES, LLP                        SEESE                  EDWARD                 X     X      X          X    X       X
   328                  SHRADER & ASSOCIATES, LLP                        SHAHAN                 ROBERT                 X     X      X          X    X       X

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                                                                                                Name                  8      8A      A       B     C    10
   329                  SHRADER & ASSOCIATES, LLP                        SHARP                  ROBERT                X       X      X       X     X    X
   330      12433660    SHRADER & ASSOCIATES, LLP                        SHAW                   CORNELIA               X     X      X          X    X       X
   331      15485820    SHRADER & ASSOCIATES, LLP                        SHEWMAKE               ELIC                   X     X      X          X    X       X
   332      19129295    SHRADER & ASSOCIATES, LLP                        SHOCKLEY               NOY                    X     X      X          X    X       X
   333      16210364    SHRADER & ASSOCIATES, LLP                        SHORROW                KAYE                   X     X      X          X    X       X
   334                  SHRADER & ASSOCIATES, LLP                        SICKLES                SHARON                 X     X      X          X    X       X
   335      19647901    SHRADER & ASSOCIATES, LLP                        SIMPKINS               JACK                   X     X      X          X    X       X
   336      12938874    SHRADER & ASSOCIATES, LLP                        SIMPSON                BETTY                  X     X      X          X    X       X
   337                  SHRADER & ASSOCIATES, LLP                        SIZEMORE               CLIFTON                X     X      X          X    X       X
   338      18002016    SHRADER & ASSOCIATES, LLP                        SMITH                  DANNY                  X     X      X          X    X       X
   339                  SHRADER & ASSOCIATES, LLP                        SMITH                  FREDRICK               X     X      X          X    X       X
   340                  SHRADER & ASSOCIATES, LLP                        SNACK                  RODNEY                 X     X      X          X    X       X
   341                  SHRADER & ASSOCIATES, LLP                        SOLARIS                DANIEL                 X     X      X          X    X       X
   342      13819190    SHRADER & ASSOCIATES, LLP                        SPINDLE                INNIS                  X     X      X          X    X       X
   343      11642751    SHRADER & ASSOCIATES, LLP                        STANDEVEN              MERLIN                 X     X      X          X    X       X
   344                  SHRADER & ASSOCIATES, LLP                        STANSBERRY             JON                    X     X      X          X    X       X
   345                  SHRADER & ASSOCIATES, LLP                        STEMPER                NOEL                   X     X      X          X    X       X
   346                  SHRADER & ASSOCIATES, LLP                        STULTZ                 KENNETH                X     X      X          X    X       X
   347      12222792    SHRADER & ASSOCIATES, LLP                        SULECKI                JUNE                   X     X      X          X    X       X
   348      12712667    SHRADER & ASSOCIATES, LLP                        SUMNER                 GERALD                 X     X      X          X    X       X
   349      15322423    SHRADER & ASSOCIATES, LLP                        SUSEK                  LARRY                  X     X      X          X    X       X
   350                  SHRADER & ASSOCIATES, LLP                        SWANSON                CHARLES                X     X      X          X    X       X
   351      11672329    SHRADER & ASSOCIATES, LLP                        SWEENEY                ELVIRA                 X     X      X          X    X       X
   352      16696858    SHRADER & ASSOCIATES, LLP                        SWEET                  PAUL                   X     X      X          X    X       X
   353                  SHRADER & ASSOCIATES, LLP                        SWITZER                MELVIN                 X     X      X          X    X       X
   354                  SHRADER & ASSOCIATES, LLP                        TELLO                  DOMINGO                X     X      X          X    X       X
   355                  SHRADER & ASSOCIATES, LLP                        TERRY                  RICHARD                X     X      X          X    X       X
   356      13522091    SHRADER & ASSOCIATES, LLP                        THOMPSON               DAVID                  X     X      X          X    X       X
   357      11713314    SHRADER & ASSOCIATES, LLP                        THOMPSON               ROBERT                 X     X      X          X    X       X
   358                  SHRADER & ASSOCIATES, LLP                        THORNLEY               ROBERT                 X     X      X          X    X       X
   359                  SHRADER & ASSOCIATES, LLP                        TIEMAN                 GLEN                   X     X      X          X    X       X
   360                  SHRADER & ASSOCIATES, LLP                        TOLES                  CLIFFORD               X     X      X          X    X       X
   361                  SHRADER & ASSOCIATES, LLP                        TORRES                 MIGUEL                 X     X      X          X    X       X

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                                                                                                Name                  8      8A      A       B     C    10
   362      15268791    SHRADER & ASSOCIATES, LLP                        TRACY                  TERRY                 X       X      X       X     X    X
   363                  SHRADER & ASSOCIATES, LLP                        TRINIDAD               WILFREDO               X     X      X          X    X       X
   364      12893047    SHRADER & ASSOCIATES, LLP                        VANDERWARF             TERRELL                X     X      X          X    X       X
   365      14841921    SHRADER & ASSOCIATES, LLP                        VARNELL                THERESA                X     X      X          X    X       X
   366                  SHRADER & ASSOCIATES, LLP                        WALLACE                GREGG                  X     X      X          X    X       X
   367      13916836    SHRADER & ASSOCIATES, LLP                        WARREN                 GARY                   X     X      X          X    X       X
   368      14960683    SHRADER & ASSOCIATES, LLP                        WEBER                  JAMES                  X     X      X          X    X       X
   369                  SHRADER & ASSOCIATES, LLP                        WEIR                   EARL                   X     X      X          X    X       X
   370      14726871    SHRADER & ASSOCIATES, LLP                        WEST                   LARRY                  X     X      X          X    X       X
   371                  SHRADER & ASSOCIATES, LLP                        WESTMOE                JON                    X     X      X          X    X       X
   372      13662955    SHRADER & ASSOCIATES, LLP                        WEYGANDT               RONALD                 X     X      X          X    X       X
   373      13744559    SHRADER & ASSOCIATES, LLP                        WHEAT                  JAMES                  X     X      X          X    X       X
   374      14692156    SHRADER & ASSOCIATES, LLP                        WHITE                  ALEX                   X     X      X          X    X       X
   375                  SHRADER & ASSOCIATES, LLP                        WHITENER               JIMMY                  X     X      X          X    X       X
   376      19257469    SHRADER & ASSOCIATES, LLP                        WICHMANN               HORST                  X     X      X          X    X       X
   377                  SHRADER & ASSOCIATES, LLP                        WIELAND                ARLYN                  X     X      X          X    X       X
   378                  SHRADER & ASSOCIATES, LLP                        WIERSEMA               ARLAN                  X     X      X          X    X       X
   379      19789075    SHRADER & ASSOCIATES, LLP                        WILKES                 JOHNNY                 X     X      X          X    X       X
   380                  SHRADER & ASSOCIATES, LLP                        WILLENPART             RICHARD                X     X      X          X    X       X
   381      18731774    SHRADER & ASSOCIATES, LLP                        WILLIAMS               HARRY                  X     X      X          X    X       X
   382      18213555    SHRADER & ASSOCIATES, LLP                        WINBERG                TRACY                  X     X      X          X    X       X
   383                  SHRADER & ASSOCIATES, LLP                        WINKLEMAN              ALBERT                 X     X      X          X    X       X
   384      12770054    SHRADER & ASSOCIATES, LLP                        WOODLON                MILBURN                X     X      X          X    X       X
   385                  SHRADER & ASSOCIATES, LLP                        WOODRUFF               GRADY                  X     X      X          X    X       X
   386                  SHRADER & ASSOCIATES, LLP                        YOUNG                  KEITH                  X     X      X          X    X       X
   387      17781965    SHRADER & ASSOCIATES, LLP                        ZAMARRIPA              GLORIA                 X     X      X          X    X       X
   388                  SHRADER & ASSOCIATES, LLP                        ZAVARO                 MICHAEL                X     X      X          X    X       X
   389                  SHRADER & ASSOCIATES, LLP                        ZAZULAK                JOHN                   X     X      X          X    X       X
   390      12212544    SWMW LAW, LLC                                    ARISPE                 ANTONIO                X     X      X          X    X       X
   391      17777391    SWMW LAW, LLC                                    CONTE                  GERARDO                X     X      X          X    X       X
   392      12073971    SWMW LAW, LLC                                    CROCKER                KEITH                  X     X      X          X    X       X
   393      16427418    SWMW LAW, LLC                                    DOOLEY                 RICHARD                X     X      X          X    X       X
   394      15354492    SWMW LAW, LLC                                    GROLEAU                JOAN                   X     X      X          X    X       X

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                                                                                                Name                  8      8A      A       B     C    10
   395      18180639    SWMW LAW, LLC                                    GUEVARA                JULIO                 X       X      X       X     X    X
   396      14437314    SWMW LAW, LLC                                    GUZMAN                 JOE                    X     X      X          X    X       X
   397      12285353    SWMW LAW, LLC                                    HOUSER                 DONNA                  X     X      X          X    X       X
   398      13721821    SWMW LAW, LLC                                    HUFF                   ROGER                  X     X      X          X    X       X
   399      19774634    SWMW LAW, LLC                                    LANDERS                WILLARD                X     X      X          X    X       X
   400      14706508    SWMW LAW, LLC                                    MAUNEY                 RAYMOND                X     X      X          X    X       X
   401      17910978    SWMW LAW, LLC                                    MAZACEK                MARY                   X     X      X          X    X       X
   402      19309677    SWMW LAW, LLC                                    MOORE                  ALAN                   X     X      X          X    X       X
   403      11989656    SWMW LAW, LLC                                    RAY                    ELEANOR                X     X      X          X    X       X
   404      17556613    SWMW LAW, LLC                                    REYNOLDS               ALVIN                  X     X      X          X    X       X
   405      12578049    SWMW LAW, LLC                                    SKINNER                DELORES                X     X      X          X    X       X
   406      15821440    SWMW LAW, LLC                                    STITCH                 DARRYL                 X     X      X          X    X       X
   407      15461111    SWMW LAW, LLC                                    STROUTH                BOBBY                  X     X      X          X    X       X
   408      18120021    SWMW LAW, LLC                                    THOMAS                 MELVIN                 X     X      X          X    X       X
   409      11829134    THE GORI LAW FIRM                                AKZIN                  MICHAEL                X     X      X          X    X       X
   410      12689873    THE GORI LAW FIRM                                ARAMBULA               EDWARD                 X     X      X          X    X       X
   411      13568985    THE GORI LAW FIRM                                BROWN                  HENRY                  X     X      X          X    X       X
   412      18338586    THE GORI LAW FIRM                                CLOSE                  RALPH                  X     X      X          X    X       X
   413      15809801    THE GORI LAW FIRM                                COLVARD                BILLY                  X     X      X          X    X       X
   414      10793112    THE GORI LAW FIRM                                CONOVER                RAYMOND                X     X      X          X    X       X
   415      14264081    THE GORI LAW FIRM                                CULLY                  PAUL                   X     X      X          X    X       X
   416      13112964    THE GORI LAW FIRM                                DOCKSTADER             NELIDA                 X     X      X          X    X       X
   417      10696070    THE GORI LAW FIRM                                GRANT                  CHARLES                X     X      X          X    X       X
   418      19417738    THE GORI LAW FIRM                                GRAY                   JESSE                  X     X      X          X    X       X
   419      15392096    THE GORI LAW FIRM                                HILL                   WILLIAM                X     X      X          X    X       X
   420      11579035    THE GORI LAW FIRM                                HOWARD                 ROMALUE                X     X      X          X    X       X
   421      12205881    THE GORI LAW FIRM                                HUNTLEY                WILLIAM                X     X      X          X    X       X
   422      16212443    THE GORI LAW FIRM                                HUSTED                 ELIZABETH              X     X      X          X    X       X
   423      14497473    THE GORI LAW FIRM                                JOHNSTON               BRIAN                  X     X      X          X    X       X
   424      10724957    THE GORI LAW FIRM                                KAISER                 DONNA                  X     X      X          X    X       X
   425      19167748    THE GORI LAW FIRM                                KROEKER                ARTHUR                 X     X      X          X    X       X
   426      16287799    THE GORI LAW FIRM                                KUTER                  BETTY                  X     X      X          X    X       X
   427      12085263    THE GORI LAW FIRM                                LAWSON                 WILLIAM                X     X      X          X    X       X

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✔ = compliant                                                              13 of 15                                          * previously duplicated on Exhibit A
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                   Pending Mesothelioma Claimants that are Non-Compliant with Parts 8, 8A, and 10 and Tables A, B, and C as of April 5, 2022

                                                                                                Claimant First       Part   Part   Table   Table Table Part
    #        PIQ ID                     Law Firm Name                    Claimant Last Name
                                                                                                Name                  8      8A      A       B     C    10
   428      18858361    THE GORI LAW FIRM                                LEBO                   ROY                   X       X      X       X     X    X
   429      10633235    THE GORI LAW FIRM                                LINDER                 MARIE                  X     X      X          X    X       X
   430      17322023    THE GORI LAW FIRM                                LLANES                 MIGUEL                 X     X      X          X    X       X
   431      13756991    THE GORI LAW FIRM                                LOEFFELHOLZ            CHARLES                X     X      X          X    X       X
   432      15202244    THE GORI LAW FIRM                                LOOMAN                 DALE                   X     X      X          X    X       X
   433      17716875    THE GORI LAW FIRM                                MACK                   RUSSELL                X     X      X          X    X       X
   434      14765286    THE GORI LAW FIRM                                MARTINEZ               ARTURO                 X     X      X          X    X       X
   435      16503644    THE GORI LAW FIRM                                MASTRANGEL             JOHN                   X     X      X          X    X       X
   436      17188533    THE GORI LAW FIRM                                MCKEWEN                HELEN                  X     X      X          X    X       X
   437      10164525    THE GORI LAW FIRM                                MICHAELS               JANET                  X     X      X          X    X       X
   438      14684255    THE GORI LAW FIRM                                MULCAHEY               SANDRA                 X     X      X          X    X       X
   439      11215765    THE GORI LAW FIRM                                NEET                   LURLAINA               X     X      X          X    X       X
   440      10851229    THE GORI LAW FIRM                                NOOYEN                 NORBERT                X     X      X          X    X       X
   441      10366408    THE GORI LAW FIRM                                PADGETT                MARSHALL               X     X      X          X    X       X
   442      15623827    THE GORI LAW FIRM                                PAPAJCIK               ROBERT                 X     X      X          X    X       X
   443      12419802    THE GORI LAW FIRM                                PFAHLER                RICHARD                X     X      X          X    X       X
   444      10388345    THE GORI LAW FIRM                                POWELL                 KAREN                  X     X      X          X    X       X
   445      12898956    THE GORI LAW FIRM                                SALMONS                CHAREMON               X     X      X          X    X       X
   446      12792289    THE GORI LAW FIRM                                SANTOS                 OLGA                   X     X      X          X    X       X
   447      16865245    THE GORI LAW FIRM                                SCOTT                  THERESA                X     X      X          X    X       X
   448      13899437    THE GORI LAW FIRM                                SHEARHART              ROBERT                 X     X      X          X    X       X
   449      12884647    THE GORI LAW FIRM                                SHEPPARD               STANLEY                X     X      X          X    X       X
   450      14972207    THE GORI LAW FIRM                                TROTTER                MICHAEL                X     X      X          X    X       X
   451      19876568    THE GORI LAW FIRM                                VARBEL                 EVELYN                 X     X      X          X    X       X
   452      18495071    THE GORI LAW FIRM                                WALK                   CLIFFORD               X     X      X          X    X       X
   453      19742895    THE GORI LAW FIRM                                WEAVER                 THOMAS                 X     X      X          X    X       X
   454      12386713    THE GORI LAW FIRM                                WELTON                 THOMAS                 X     X      X          X    X       X
   455      17301180    THE GORI LAW FIRM                                WHITAKER               DONALD                 X     X      X          X    X       X
   456      13457454    THE GORI LAW FIRM                                WHITE                  LOCKARD                X     X      X          X    X       X
   457      19428949    THE GORI LAW FIRM                                WILL                   MICHAEL                X     X      X          X    X       X
   458      15113380    THE GORI LAW FIRM                                WIRTZ                  GERALD                 X     X      X          X    X       X
   459      18245373    THE GORI LAW FIRM                                WRIGHT                 JORDAN                 X     X      X          X    X       X
   460      17910190    THE GORI LAW FIRM                                WUNDER                 DOROTHY                X     X      X          X    X       X

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                   Pending Mesothelioma Claimants that are Non-Compliant with Parts 8, 8A, and 10 and Tables A, B, and C as of April 5, 2022

                                                                                                Claimant First       Part   Part   Table   Table Table Part
    #        PIQ ID                     Law Firm Name                    Claimant Last Name
                                                                                                Name                  8      8A      A       B     C    10
   461      14096430    THE LANIER LAW FIRM                              ALTOM                  MITCHELL              X       X      X       X     X    X
   462      12350532    THE LANIER LAW FIRM                              BLACK                  EDWARD                 X     X      X          X    X       X
   463      14719082    THE LANIER LAW FIRM                              FIGURA                 DARLENE                X     X      X          X    X       X
   464      13101825    THE LANIER LAW FIRM                              HARGRAVE               RODNEY                 X     X      X          X    X       X
   465      19782005    THE LANIER LAW FIRM                              HARLAN                 JUDITH                 X     X      X          X    X       X
   466      15262631    THE LANIER LAW FIRM                              SOSA                   PATRIA                 X     X      X          X    X       X
   467      10337036    THE SHEPARD LAW FIRM, P.C.                       ABERNATHY              JOHN                   X     X      X       ✔       X       X
   468      14891528    THE SHEPARD LAW FIRM, P.C.                       CALDER                 VIRGINIA               X     X      X       ✔       X       X
   469      18868153    THE SHEPARD LAW FIRM, P.C.                       CARROLL                MICHAEL                X     X      X       ✔       X       X
   470      13291437    THE SHEPARD LAW FIRM, P.C.                       CONDON                 GEORGE                 X     X      X       ✔       X       X
   471      15691962    THE SHEPARD LAW FIRM, P.C.                       DERRAH                 ROBERT                 X     X      X       ✔       X       X
   472      14536439    THE SHEPARD LAW FIRM, P.C.                       DICKINSON              WAYNE                  X     X      X       ✔       X       X
   473      17389056    THE SHEPARD LAW FIRM, P.C.                       DITERLIZZI             GEORGE                 X     X      X       ✔       X       X
   474      18947690    THE SHEPARD LAW FIRM, P.C.                       FAY                    BRENDON                X     X      X       ✔       X       X
   475      15386131    THE SHEPARD LAW FIRM, P.C.                       FONTAINE               RICHARD                X     X      X       ✔       X       X
   476      15974329    THE SHEPARD LAW FIRM, P.C.                       GRIFFIN                JOHN                   X     X      X       ✔       X       X
   477      19025116    THE SHEPARD LAW FIRM, P.C.                       HALEY                  MAUREEN                X     X      X       ✔       X       X
   478      16555267    THE SHEPARD LAW FIRM, P.C.                       KAPLAN                 IRA                    X     X      X       ✔       X       X
   479      12550193    THE SHEPARD LAW FIRM, P.C.                       LEVESQUE               WILFRED                X     X      X       ✔       X       X
   480      15797241    THE SHEPARD LAW FIRM, P.C.                       MARTIN                 JOHN                   X     X      X       ✔       X       X
   481      18607315    THE SHEPARD LAW FIRM, P.C.                       MCCULLOUGH             STEPHEN                X     X      X       ✔       X       X
   482      17653016    THE SHEPARD LAW FIRM, P.C.                       MELANSON               CHARLES                X     X      X       ✔       X       X
   483      15646483    THE SHEPARD LAW FIRM, P.C.                       MUCCI                  PASQUALE               X     X      X       ✔       X       X
   484      15884354    THE SHEPARD LAW FIRM, P.C.                       OUELLET                EUGENE                 X     X      X       ✔       X       X
   485      12224113    THE SHEPARD LAW FIRM, P.C.                       PERRY                  EILEEN                 X     X      X       ✔       X       X
   486      18027535    THE SHEPARD LAW FIRM, P.C.                       PITMAN                 ROBERT                 X     X      X       ✔       X       X
   487      15121727    THE SHEPARD LAW FIRM, P.C.                       QUIRION                JEAN                   X     X      X       ✔       X       X
   488      17778193    THE SHEPARD LAW FIRM, P.C.                       SETTLES                MARTHA                 X     X      X       ✔       X       X
   489      15092701    THE SHEPARD LAW FIRM, P.C.                       STORTI                 CATHERINE              X     X      X       ✔       X       X
   490      10691751    THE SHEPARD LAW FIRM, P.C.                       TIERNEY                JACQUELYN              X     X      X       ✔       X       X
   491      13405775    THE SHEPARD LAW FIRM, P.C.                       URBANKIEWICZ           EDWIN                  X     X      X       ✔       X       X
   492      11962713    THE SHEPARD LAW FIRM, P.C.                       VAITIS                 ELLIS                  X     X      X       ✔       X       X
   493      12920535    THE SHEPARD LAW FIRM, P.C.                       VINCINI                OLIVIO                 X     X      X       ✔       X       X

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                    Claimants that May Be Removed from the Court's Contempt Order

                                                                     Claimant Last   Claimant First
#        PIQ ID                     Law Firm Name
                                                                     Name            Name
1      16449986   MAUNE RAICHLE HARTLEY FRENCH & MUDD, LLC           DUNN            JOHN
2      11593769   MAUNE RAICHLE HARTLEY FRENCH & MUDD, LLC           GOODMAN         JAY
3      11112212   THE GORI LAW FIRM                                  BUNTING         STANLEY
4      19013612   THE GORI LAW FIRM                                  MCCANDLESS      KATRINA
5      10051043   SHRADER & ASSOCIATES, LLP                          MOITY           HENRY




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